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 1   CHRISTOPHER P. BURKE, ESQ.                                     ECF Filed on 1/7/2022
     Nevada Bar No.: 004093
 2   atty@cburke.lvcoxmail.com
     218 S. Maryland Pkwy.
 3   Las Vegas, Nevada 89101
     (702) 385-7987
 4   Attorney for Debtor
     Melani Schulte
 5
                           UNITED STATES BANKRUPTCY COURT
 6                               DISTRICT OF NEVADA
 7
     In Re:                                     Case No. 09-29123-MKN
 8
     MELANI SCHULTE and                         Chapter 11
 9   WILLIAM SCHULTE,
                                                Jointly Administered with:
10
     2704 SATTLEY LLC,                          09-27238-MKN
11   HOT ENDEAVOR LLC,                          09-27909-MKN
     1341 MINUET LLC,                           09-27910-MKN
12   1708 PLATO PICO LLC,                       09-27911-MKN
     2228 WARM WALNUT LLC,                      09-27912-MKN
13   9425 VALLEY HILLS LLC,                     09-27913-MKN
     9500 ASPEN GLOW LLC,                       09-27914-MKN
14   5218 MISTY MORNING LLC,                    09-27916-MKN
     CHERISH LLC,                               09-28513-MKN
15   SABRECO INC.,                              09-31584-MKN
     KEEP SAFE LLC,                             09-31585-MKN
16
17                  Debtors.                    CERTIFICATE OF SERVICE
18                                              Date: February 09, 2022
                                                Time: 9:30 a.m.
19
20
21            I hereby certify that I am an employee of CHRISTOPHER P. BURKE, ESQ., and on
22   the 7th day of January, 2022, I caused to be served a true and correct copy of:
23            1. Notice and Motion to Compel Discovery of Shellpoint Mortgage Servicing and that
24   Debtors Request for Production be Responded to Properly and for Attorneys Fees (Dkt.
25   #1397 and #1398) in the following manner:
26
27
28                                                 1
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 1          & (ELECTRONIC SERVICE)             Under Administrative Order 02-1 (Rev. 8-31
 2   -04) of the United States Bankruptcy Court for the District of Nevada, the above-referenced
 3   document was electronically filed on the date hereof and served through the Notice of
 4   Electronic Filing automatically generated by that Court’s facilities.
 5           (UNITED STATES MAIL)             By depositing a copy of the above-referenced
 6   document for mailing in the United States Mail, first class postage prepaid, at Las Vegas,
 7   Nevada, to the parties listed below, at their last known mailing addresses, on the date above
 8   written.
 9           (OVERNIGHT COURIER)              By depositing a true and correct copy of the
10   above-referenced document for overnight delivery via Federal Express, at a collection
11   facility maintained for such purpose, addressed to the parties on the attached service list,
12   at their last known delivery address, on the date above written.
13           (FACSIMILE)        That I served a true and correct copy of the above-referenced
14   document via facsimile, to the facsimile numbers indicated, to those persons listed on the
15   attached service list, on the date above written.
16                                                       /s/ Adriana Pelayo
                                                         An Employee of
17                                                       Christopher P. Burke, Esq.
18          Aldridge Pite, LLP
            Attn: Greg Campbell and Eddie R. Jimenez
19          7220 South Cimarron Road, Suite 140
            Las Vegas, NV 89113
20
            Mailing Address:
21          4375 Jutland Drive, Suite 200
            P.O.Box 17933
22          San Diego, California 92177-0933
23          gcampbell@aldridgepite.com
            ejimenez@aldridgepite.com
24
25
26
27
28                                                2
